993 F.2d 228
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.William BRYANT, Plaintiff-Appellant,v.Joseph P. SACCHET, Warden;  W. R. Taylor, Prison Guard;Shawn Jackson;  Lieutenant Hartman, Supervisor;Sergeant Meyers, Prison Guard;  K.Hoover, Captain, ShiftCommander,Defendants-Appellees.
    No. 93-6113.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  March 29, 1993Decided:  April 27, 1993
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Alexander Harvey, II, Senior District Judge.  (CA-93-70-H)
      William Bryant, Appellant Pro Se.
      D.Md.
      AFFIRMED.
      Before LUTTIG, Circuit Judge, and BUTZNER and CHAPMAN, Senior Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      William Bryant appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Bryant v. Sacchet, No. CA-93-70-H (D. Md. Jan. 25, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    